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AO 245B (Mod. D/NJ 12/06} Sheet 1 - Judgment in a Crimina! Case




                                                            UNITED STATES DISTRICT COURT
                                                                     District of New Jersey


  UNITED STATES OF AMERICA

              V.
                                                                                  CASE NUtVIBER 2:19-CR-00780-WJM-1

 GENE LEVOFF

             Defendant.


                                                                  JUDGMENT IN A CRIMINAL CASE
                                                (ForOffenses Committed On or After November 1, 1987)


            The defendant. GENE LEVOFF, was represented by KEVIN HARRY MARINO, JOHN D. TORTORELLAand JOHN
A. BOYLE.

            On motion of the United States, the court has dismissed count(s) 7-12.

The defendant pleaded guilty to count(s) 1-6 of the INDICTMENT on 6/30/2022. Accordingly, the court has adjudicated
that the defendant is guilty of the following offense(s):

                                                                                                                          Count
 Title & Section                 Nature ofOffense                                                     Date of Offense     Numberfs)

  15:78J(B)AND                   SECURITIES FRAUD                                                     7/17/2015-4/21/2016 1-6
 78FF,17,
 240.10B-5AND
 240.10B5-2, 18:
 2


      As pronounced on December 07, 2023, the defendant is sentenced as provided in pages 2 through 6 of this
Judgment. The sentence is imposed pursuant to the Sentencing Reform Act of 1984.

        It is ordered that the defendant must pay to the United States a specia! assessment of $600.00 ($100.00 for each
of Counts 1-6), which shail be due immediately. Said special assessment shall be made payable to the Clerk, U.S. District
Court,

       it is further ordered that the defendant must notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until ail fines, restitution, costs and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of any
material change in economic circumstances.

            Signed this 11th day of December, 2023,




                                                                                   \&tfHTarrTjt'1^
                                                                                   Senior U.S/D)6trict Judge




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A0245B (Mod. D/NJ 12/06) Sheet4-Probation


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                                                         PROBATION

           You are hereby sentenced to probation for a term of 4 years.

         While on probation, you must not commit another federal, state, or local crime, must refrain from any unlawful use
of a controiled substance and must compiy with the standard conditions that have been adopted by this court as set forth
below.

        Based on information presented, you are excused from the mandatory drug testing provision, however, you may be
requested to submit to drug testing during the period of supervision if the probation officer determines a risk of substance
abuse.


You must cooperate En the collection of DNA as directed by the probation officer.


         if this judgnnent imposed restitution, you must make restitution in accordance with 18 U.S.C. §§ 2248,2259,2264,
2327, 3663, 3663A, and 3664. You must pay the assessment imposed in accordance with 1 8 U.S.C. §3013. If this judgment
imposed a fine, you must pay in accordance with the Schedule of Payment sheet of this judgment. You must notify the
court of any material change in your economic circumstances that might affect your ability to pay restitution, fines, or special
assessments.


           You must comply with the following special conditions;

           LOCATION MONITORING PROGRAM (6 months) (Payment NOT waived)

           You must submit to home detention for a period of 6 months and comply with the Location Monitoring Program
           requirements as directed by the U.S. Probation Office. You will be restricted to your residence at all times except
           for employment, education, religious services, medical, substance abuse and mental health treatment, court-
           ordered obligations, and any other such times specifically authorized by the U.S. Probation Office. The location
           monitoring technoiogy is at the discretion of the U.S. Probation Office. You must pay the cost of the monitoring.


           COMMUNITY SERVICE (2,000 hours over the term of probation)

           You must contribute 2,000 hours of community service work over a period of probation or less, from the date
           supervision commences. Such service wil! be without compensation, with the specific work placement to be
           approved by the U.S. Probation Office.

           MENTAL HEALTH TREATMENT

           You must undergo treatment in a mental health program approved by the U.S. Probation Office until discharged by
           the Court As necessary, said treatment may also encompass treatment for gambling, domestic violence and/or
           anger management, or sex offense-specific treatment, as approved by the U.S. Probation Office, until discharged
           by the Court. The U.S. Probation Office wi!! supervise your compliance with this condition,
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                                                STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions
are imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum
tools needed by probation officers to keep informed, report to the court about, and bring about improvements in your conduct
and condition,



1) You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours
    of your release from imprisonment, unless the probation officer instructs you to report to a different probation office or
    within a different time frame.

2) After initially reporting to the probation office, you wil! receive instructions from the court or the probation officer about
    how and when you must report to the probation officer, and you must report to the probation officer as instructed.

3) You must not knowingly leave the federal judicial district where you are authorized to reside without first getting
    permission from the court or the probation officer.

4) You must answer truthfully the questions asked by your probation officer,

5) You must !sve at a place approved by the probation officer, if you plan to change where you live or anything about your
    living arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the
    change. If notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify
    the probation officer within 72 hours of becoming aware of a change or expected change.

6) You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the
    probation officer to take any items prohibited by the conditions of your supervision that he or she observes in plain
    view.


7) You must work full time (at least 30 hours per week) at a iawfu! type of employment, unless the probation officer
    excuses you from doing so. If you do not have fuHUme employment you must try to find full-time employment, unless
    the probation officer excuses you from doing so. If you plan to change where you work or anything about your work
    (such as your position or your job responsibilities), you must notify the probation officer at least 10 days before the
    change. If notifying the probation officer at least 10 days in advance is not possible due to unanticipated
    circumstances, you must notify the probation officer within 72 hours of becoming aware of a change or expected
     change.

8) You must not communicate or interact with someone you know is engaged in criminai activity. If you know someone
    has been convicted of a felony, you must not knowingiy communicate or interact with that person without first getting
    the permission of the probation officer.

9) If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

10) You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e,.
     anything that was designed, or was modified for, the specific purpose of causing bodiiy injury or death to another
     person such as nunchakus or lasers).

11) You must not act or make any agreement with a law enforcement agency to act as a confidential human source or
    informant without first getting the permission of the court.

12) If the probation officer determines that you pose a risk to another person (including an organization), the probation
    officer may require you to notify the person about the risk and you must comply with that instruction, The probation
    officer may contact the person and confirm that you have notified the person about the risk.
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                                                STANDARD CONDITIONS OF SUPERVISION
13) You must follow the instructions of the probation officer related to the conditions of supervision.




                                                  For Official Use Only - - - U.S. Probation Office

  Upon a finding of a violation of probation or supervised release, i understand that the Court may (1) revoke supervision i
or (2) extend the term of supervision and/or modify the conditions of supervision. I
                                                                                                                                  I

    These conditions have been read to me. 1 fully understand the conditions, and have been provided a copy of them. i
                                                                                                                                  I
                                                                                                                                  I
    You shall carry out all rules, in addition to the above, as prescribed by the Chief U.S. Probation Officer, or any of his i




                                      (Signed)_ i
associate Probation Officers.



                                                              Defendant                                           Date         i




                                                  U.S. Probation Officer/Designated Witness Date
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                                                                  FINE

            The defendant shall pay a fine of $30,000.00 ($5,000.00 on each of Counts 1-6 of the Indictment).

        This fine, plus any interest pursuant to 18 U.S.C. § 3612(1)(1), is due immediately and shall be paid in full within 30
days of sentencing.




       If the fine is not paid, the court may sentence the defendant to any sentence which might have been originally
imposed. See 18 U.S.C. § 3614.

        Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal
monetary penalties is due during imprisonment. All criminal monetary penalties, except those payments made through the
Federal Bureau of Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.

        Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4)
AVAA assessment, (5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and
(10) costs, including cost of prosecution and court costs.
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AO 245B (Mod. D/NJ 12/06) Sheet 8 - Restitution and Forfeilure


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                                                                 RESTITUTION AND FORFEITURE


                                                                        FORFEITURE

             The defendant is ordered to forfeit the following property to the United States:

             $604,000.00 to be paid within 10 days of the filing of the judgement. Separate order to be filed subsequently.




        Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal
monetary penalties is due during imprisonment. Aii criminal monetary penalties, except those payments made through the
Federal Bureau of Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.

         Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4)
AVAA assessment, (5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and
(10) costs, including cost of prosecution and court costs.
